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                        Exhibit 3
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    1        IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF NEW JERSEY
    2                  CAMDEN VICINAGE
                           - - -
    3
          IN RE: VALSARTAN,      : MDL NO. 2875
    4     LOSARTAN, AND          :
          IRBESARTAN PRODUCTS    : CIVIL NO.
    5     LIABILITY LITIGATION   : 19-2875
          ______________________ : (RBK/JS)
    6                            :
          THIS DOCUMENT APPLIES : HON. ROBERT
    7     TO ALL CASES           : B. KUGLER
    8           - CONFIDENTIAL INFORMATION -
                SUBJECT TO PROTECTIVE ORDER
    9
                                 VOLUME II
   10
                                  -    -    -
   11
                              May 28, 2021
   12
                                  -    -    -
   13
   14           Continued videotaped remote
        deposition of JUN DU, taken pursuant to
   15   notice, was held via Zoom
        Videoconference, beginning at 9:12 a.m.,
   16   EST, on the above date, before Michelle
        L. Gray, a Registered Professional
   17   Reporter, Certified Shorthand Reporter,
        Certified Realtime Reporter, and Notary
   18   Public.
   19
                                  -    -    -
   20
   21            GOLKOW LITIGATION SERVICES
             877.370.3377 ph | 917.591.5672 fax
   22                  deps@golkow.com
   23
   24



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                                      Page 218                                     Page 220
   1
   2
     ZOOM APPEARANCES:                         1
                                               2
                                                 ZOOM APPEARANCES: (Cont'd.)
   3
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                                      Page 219                                     Page 221
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   1
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   3
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                                                            DEPOSITION SUPPORT INDEX
   4
                  - - -                            3
                                                               - - -
                                                   4

   5
     Testimony of:                                 5
                                                       Direction to Witness Not to Answer
                           JUN DU                  6
   6
             By Mr. Slater       226                   PAGE LINE
   7
   8
                                                       None.
                                                   7
   9                                               8
  10                                                   Request for Production of Documents
                                                   9
                                                       PAGE LINE
  11
                  - - -                                None.
                                                  10
                EXHIBITS                          11
  12                                                   Stipulations
                                                  12
  13
                  - - -                                PAGE LINE
  14
                                                       None.
  15
       NO.        DESCRIPTION          PAGE 13
                                                  14
                                                       Questions Marked
  16
     ZHP-433    Isolation and    244              15
                                                       PAGE LINE
           Identification                              None.
  17
           Of Process Impurities                  16
  18
           (Jing Nie)                             17
     ZHP-434    E-mail Thread     275             18
  19
           11/2/18
           Subject, Happy Chinese                 19

  20
           New Year!                              20

  21
           ZHP 00675949-56                        21
                                                  22
  22
  23                                              23
  24                                              24

                                       Page 223                                         Page 225
   1
   2
              - - -                       1
                                                                  - - -
   3
       PREVIOUSLY MARKED 2
   4
            EXHIBITS                                           THE VIDEOGRAPHER: We are
   5
              - - -                       3
                                                          now on the record.
   6
   7
     NO.     DESCRIPTION            PAGE 4                     My name is Judy Diaz, I'm a
     ZHP-204    Deviation Report    287   5
                                                          legal videographer for Golkow
           ZHP   00004352-71              6
   8
                                                          Litigation Services.
   9
     ZHP-212    Investigation     251     7
                                                               Today's date is May 28,
           Report                         8
  10
           6/6/18                                         2021, and the time is 9:12 a.m.
  11
           ZHP 00662283-09                9
                                                               This remote video deposition
     ZHP-213    Warning Letter     234   10
           11/29/18                                       is being held in the matter of
  12
  13
           ZHP 01344159-64               11
                                                          valsartan, losartan, and
     ZHP-312    Establishment      230   12
           Inspection Report                              irbesartan products liability
  14
           7/23/18                       13
                                                          litigation MDL.
  15
           PRINSTON      00162349-06     14
                                                               This is the continuation of
  16
     ZHP-319    E-mail Thread      280   15
                                                          the deponent Jun Du.
           7/17/18                       16
                                                               All parties to this
  17
           Subject, Hello and
           Help                          17
                                                          deposition are appearing remotely
  18
           CHARLESWANG         000447-49 18
                                                          and have agreed to the witness
  19
     ZHP-321    Concise          288     19
                                                          being sworn in remotely.
           International                 20
                                                               All counsel will be noted on
  20
           Chemical  Assessment          21
           Document 38                                    the stenographic record.
  21
           NDMA                          22
                                                               The court reporter is
  22
           WHO    2002                   23
  23
                                                          Michelle Gray.
                                                  24
  24                                                           The witness and interpreter


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                                        Page 226                                           Page 228
   1                                               1 stated at the bottom of the letter?
         are already under oath.
   2                                         2      A. Yes.
                   - - -
   3                                         3      Q. One thing I just want to
              ... YANG SHAO and EVELYN
   4                                         4 clarify is, in retrospect you also found
         YANG GARLAND, having been
   5                                         5 out that there was NDMA and NDEA from the
         previously duly sworn, translated
   6                                         6 TEA process, the triethylamine process
         Chinese to English, as follows:
   7                                         7 with sodium nitrite quenching. It turned
                   - - -
   8                                         8 out that also had the nitrosamine
              ... JUN DU, having been
   9
         previously sworn, was examined and 9 contamination, correct?
  10                                        10      A. One, that question was
         testified as follows:
  11                                        11 responded at that time. The issue of TEA
                  - - -
  12
            CONTINUED EXAMINATION 12 or NDEA was not discovered yet. Besides
  13                                        13 NDEA is not a contaminant, it is an
                  - - -
  14                                        14 impurity rather.
     BY MR. SLATER:
  15                                        15      Q. Your response states, "As
         Q. On the screen we have
  16                                        16 revealed by our investigation, the
     Exhibit 430.
  17                                        17 ultimate reason for the presence of NDMA
              Let's look at the bottom
  18                                        18 in valsartan API is due to this process
     paragraph on the first page please.
  19                                        19 change in which the solvent
              This is your letter to the
  20                                        20 dimethylformamide (DMF) was introduced
     FDA August 26, 2018.
  21                                        21 and its impurity/degradant,
              The bottom paragraph says --
  22                                        22 dimethylamine, unexpectedly reacts with
              MR. SLATER: I'm sorry.
  23                                        23 nitrous acid (generated in situ between
         I'll start over.
  24
              THE WITNESS: Can you give 24 sodium nitrite and hydrochloric acid)
                                        Page 227                                           Page 229
   1                                               1
          me a few seconds to take a look at          during the subsequent quenching step in
   2                                               2
          this document?                              the presence of the product of that
   3                                                3
     BY MR. SLATER:                                   step."
   4                                                4
          Q. Yeah, all right. I didn't                         That is what you told the
   5                                                5
     even -- I was halfway through my question        FDA in terms of why the NDMA formed with
   6                                                6
     so I'll start over. But you can go ahead         the zinc chloride process, correct?
   7                                                7
     and look first.                                       A. That is correct. That's
   8                                                8
               MR. SLATER: Keep track of              what this letter says.
   9                                                9
          the time, please.                                Q. And that change to the zinc
  10                                               10
               THE WITNESS: I'm ready.                chloride process which led to this
  11                                               11
     BY MR. SLATER:                                   process impurity of NDMA allowed you, and
  12                                               12
          Q. Looking now at Exhibit 430,              allowed ZHP, to reduce costs and increase
  13                                               13
     which is your August 26, 2018 letter to          yield for the valsartan API, correct?
  14                                               14
     the FDA. I want to look at the bottom                 A. I believe it should be put
  15                                               15
     paragraph on Page 1.                             in this way. Why we changed the process
  16                                               16
               You wrote in this letter,              was to improve the yield and reduce the
  17                                               17
     "One of the key questions about this             waste. This would be a process that any
  18                                               18
     inspection as well as about our own              API manufacturer would pursue and with
  19                                               19
     investigation is," quote -- and quoting          the term "fast, effective." This is
  20                                               20
     what the FDA asked -- "'why NDMA was not         rather a normal activity or practice.
  21                                               21
     detected or considered during the process                 MR. SLATER: Cheryll, let's
  22                                               22
     change from the triethylamine process to              digress for a moment and go to
  23                                               23
     zinc chloride process.'"                              Exhibit 312, please, and then
  24                                               24
               Do you see where that's                     we'll come back to this document.


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                                        Page 230                                         Page 232
   1                                               1
              Let's go if we could, to the                 Q. Let's go back now to --
   2                                               2
          cover first.                                     A. However, I do not agree with
   3                                                3
              (Previously marked Exhibit              the statement here. I did not make such
   4                                                4
          ZHP-312.)                                   an apology, and I do not understand why
   5                                                5
     BY MR. SLATER:                                   it was written here. I did not state
   6                                                6
          Q. Looking at Exhibit 312, this             that the cost reduction would cause
   7                                                7
     is the FDA establishment inspection              dominant world market share.
   8                                                8
     report for the inspection from July 23,               Q. Let's go back to Exhibit 430
   9                                                9
     2018 to August 3, 2018. Do you see that          please. Let's look now at Page 2 of the
  10                                               10
     on the screen?                                   letter.
  11                                               11
          A. Hold on, let me take a look.                      Let's look now at the third
  12                                               12
              Excuse me, what exhibit                 paragraph on the page, please. Can
  13                                               13
     number is this?                                  you -- rephrase.
  14                                               14
          Q. 312.                                              Your letter to the FDA
  15                                               15
          A. Thank you. I see it.                     states in the third paragraph on Page 2,
  16                                               16
          Q. Let's go, if we could, to                in the current -- excuse me, I've got to
  17                                               17
     Page 25 of 58; the Bates number at the           start over.
  18                                               18
     bottom is Prinston00162373 for that page.                 Looking at Paragraph 3 on
  19                                               19
              Perfect.                                Page 2 now, your letter states, "In the
  20                                               20
          A. Please allow me a few                    current NDMA event, it is not the
  21                                               21
     seconds to review this EI report.                residual DMF that reacts with nitrous
  22                                               22
              MR. SLATER: Keep track of               acid of the next step, but rather it is
  23                                               23
          the time, please.                           the trace amount of dimethylamine, an
  24                                               24
              THE WITNESS: I'm ready. I               impurity/degradant of DMF that reacts
                                        Page 231                                         Page 233
   1                                               1
          just finished reviewing.                    with nitrous acid to form NDMA, which
   2                                               2
     BY MR. SLATER:                                   adds a further dimension over the current
   3                                                3
          Q. Looking now at the                       thinking, logic and strategy for the
   4                                                4
     paragraph, the short paragraph --                evaluation of potential genotoxic
   5                                                5
     rephrase.                                        impurities. It is this extra dimension
   6                                                6
              Looking at the paragraph in             over the current industry practice that
   7                                                7
     the middle of the page which is reciting         obscured us from foreseeing this impurity
   8                                                8
     the discussions with the FDA                     during the process change from
   9                                                9
     investigators, it states in part,                triethylamine process to zinc chloride
  10                                               10
     "Mr. Jun Du, executive vice president,           process."
  11                                               11
     apologized and stated the change control                   That's what you told the FDA
  12                                               12
     should have stated the purpose of the            in this letter to try to explain why your
  13                                               13
     change was to save money. Mr. Du further         company didn't realize when they
  14                                               14
     stated the cost reduction was so                 instituted the zinc chloride process that
  15                                               15
     significant it is what made it possible          it would be bringing in a risk of
  16                                               16
     for the firm to dominant the world market        creating NDMA, right?
  17                                               17
     share."                                               A. What are you referring to by
  18                                               18
              The process change that's               "the company"?
  19                                               19
     being discussed there is the change to                Q. ZHP, who you were -- who you
  20                                               20
     the zinc chloride process, correct?              were writing on behalf of -- rephrase.
  21                                               21
          A. Hold on. I'm scrolling to                          ZHP, on whose behalf you
  22                                               22
     this page.                                       were writing this letter as executive
  23                                               23
              Yes, I see it. That's what              vice president.
  24                                               24
     the EI report says.                                   A. That is correct. That's


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   1                                               1
     what ZHP wrote.                                  If you try to find out what they
   2                                               2
          Q. You signed the letter as                 specifically referred to, you have to
   3                                                3
     executive vice president of the company,         resort to the text below.
   4                                                4
     right?                                                    MR. GOLDBERG: Just note my
   5                                                5
          A. That is correct. I signed                     objection to the last question as
   6                                                6
     this letter on behalf of ZHP.                         calling for a legal conclusion.
   7                                                7
               MR. SLATER: Let's go now,              BY MR. SLATER:
   8                                                8
          Cheryll if we could to                           Q. Going up one more paragraph,
   9                                                9
          Exhibit 213, the FDA's response.            there's a single sentence paragraph that
  10                                               10
               (Previously marked Exhibit             says, "This warning letter summarizes
  11                                               11
          ZHP-213.                                    significant deviations from current good
  12                                               12
     BY MR. SLATER:                                   manufacturing practice (cGMP) for active
  13                                               13
          Q. On the screen we have                    pharmaceutical ingredients (API)."
  14                                               14
     Exhibit 213, which is the FDA's                           And what I'd like to now do
  15                                               15
     November 29, 2018 letter written in              is go through one of the specifics. If
  16                                               16
     response to your August 26, 2018 letter          we can turn now to Page 4 of the letter,
  17                                               17
     that we were just discussing.                    which the Bates stamp is ZHP01344162 for
  18                                               18
          A. Could you give me a few                  that page so we can look at one of the
  19                                               19
     seconds to review this document. I am            specific examples.
  20                                               20
     ready.                                                    And number -- rephrase.
  21                                               21
          Q. First of all, in the middle                       Number 2, "Failure to
  22                                               22
     of the first page the fourth paragraph           evaluate the potential effect that
  23                                               23
     down states, "We reviewed your August 26,        changes in the manufacturing process may
  24                                               24
     2018 response in detail and acknowledge          have on the quality of your API."
                                        Page 235                                        Page 237
   1                                               1
     receipt of your subsequent                                Again, the change they're
   2                                               2
     correspondence."                                 talking about here is the change to the
   3                                                3
               The August 26th letter is              zinc chloride process, right?
   4                                                4
     the letter we were just discussing prior              A. What they discussed here was
   5                                                5
     to this document, correct?                       the zinc chloride process change for
   6                                                6
          A. That is correct.                         valsartan.
   7                                                7
          Q. Just above the sentence that                  Q. The FDA specifically states,
   8                                                8
     I just read, the FDA informed you, on            "In November 2011 you approved a
   9                                                9
     November 29, 2018, "Because your methods,        valsartan API process change (PCRC -
  10                                               10
     facilities, or controls for                      110125) that included the use of the
  11                                               11
     manufacturing, processing, packing, or           solvent DMF."
  12                                               12
     holding do not conform to cGMP, your API                  That is what occurred as
  13                                               13
     are adulterated within the meaning of            part of the zinc chloride process change,
  14                                               14
     Section 501(a)(2)(B) of the Federal Food,        correct?
  15                                               15
     Drug, and Cosmetic Act, 21 U.S.C.                     A. That is correct. It was
  16                                               16
     351(a)(2)(B)."                                   also approved by the FDA.
  17                                               17
               Do you know what adulterated                Q. Your -- rephrase.
  18                                               18
     means?                                                    The FDA continues, "Your
  19                                               19
          A. I do.                                    intention was to improve the
  20                                               20
          Q. What does adulterated mean?              manufacturing process, increase product
  21                                               21
          A. What they meant was that it              yield, and lower production costs.
  22                                               22
     was involved in a fraud or fake                  However, you failed to adequately assess
  23                                               23
     substance. However, this is their                the potential formation of mutagenic
  24                                               24
     uniform statement in the warning letter.         impurities when you implemented the new


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   1                                              1
     process. Specifically, you did not           it, and used it to manufacture the API
   2                                            2
     consider the potential for mutagenic or      and finished dose that ZHP sold, correct?
   3                                            3
     other toxic impurities to form from DMF            A. What you just read was
   4                                            4
     degradants, including the primary DMF        indeed the content of this warning letter
   5                                            5
     degradant, dimethylamine. According to       from the FDA.
   6
     your ongoing investigation, dimethylamine 6            Could you please repeat your
   7                                            7
     is required for the probable human           question?
   8                                            8
     carcinogen NDMA to form during the                 Q. When the FDA refers to your
   9                                            9
     valsartan API manufacturing process.         manufacturing processes, that is correct,
  10                                           10
     NDMA was identified in valsartan API         ZHP developed the zinc chloride
  11                                           11
     manufactured at your facility."              manufacturing process, ZHP implemented
  12                                           12
              And I want to stop there and        it, and the API manufactured with that
  13                                           13
     just confirm, when they talk about NDMA      process was sold by ZHP, correct?
  14                                           14
     was identified, they are talking about             A. The process change referred
  15                                           15
     NDMA in the valsartan API that was           to here was the zinc chloride process
  16                                           16
     manufactured with the zinc chloride          change, which was also approved by the
  17                                           17
     process, correct?                            FDA and used by ZHP in their
  18                                           18
          A. The -- that is correct. The          manufacturing. Prinston as the ANDA
  19                                           19
     FDA opined here that, retrospectively        holder also used the API approved by the
  20                                           20
     speaking, after the discovery of the         FDA. Our company also sold this product
  21
     formation of NDMA, the decomposition or 21 in the U.S. market.
  22
     degradation of DMF was not considered in 22            In addition, with regard to
  23
     the process change. However, when FDA 23 the questions raised in this warning
  24                                           24
     approved this process change, they did       letter from the FDA, ZHP provided their
                                       Page 239                                      Page 241
   1                                              1
     not consider the degradation of DMF          own responses to each and every question
   2                                            2
     either. Therefore, FDA considered this       in this warning letter, including their
   3                                            3
     impurity as an unexpected impurity.          explanations or clarifications, their own
   4                                            4
          Q. The next paragraph of the            opinions, as well as related improvement
   5                                            5
     letter states -- rephrase.                   actions such as CAPA actions.
   6                                            6
               The next paragraph of the                   If you want to find out the
   7                                            7
     letter from the FDA says, "You also          opinion of ZHP, please review the
   8                                            8
     failed to evaluate the need for              response to this warning letter.
   9                                            9
     additional analytical methods to ensure               To the best of my personal
  10                                           10
     that unanticipated impurities were           understanding, FDA accepted our response.
  11                                           11
     appropriately detected and controlled in          Q. When you refer -- rephrase.
  12                                           12
     your valsartan API before you approved                When the FDA refers to your
  13                                           13
     the process change. You are responsible      manufacturing processes here, the one
  14
     for developing and using suitable methods 14 that they are specifically talking about
  15
     to detect impurities when developing, and 15 is the zinc chloride manufacturing
  16                                           16
     making changes to your manufacturing         process for valsartan, correct?
  17                                           17
     processes. If new or higher levels of             A. The manufacturing process
  18                                           18
     impurities are detected, you should fully    referred  to in the document we are
  19                                           19
     evaluate the impurities and take action      looking at right now is indeed the zinc
  20                                           20
     to ensure the drug is safe for patients."    chloride process change, judging from the
  21                                           21
               And when the FDA pointed out       process change number.
  22                                           22
     that this was ZHP's manufacturing                 Q. The last sentence of this
  23
     process, that was correct, ZHP developed 23 paragraph that states, "If new or higher
  24                                           24
     the zinc chloride process, implemented       levels of impurities are detected, you


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                                        Page 242                                        Page 244
   1                                               1
     should fully evaluate the impurities and              to it.
   2                                               2
     take action to ensure the drug is safe                     I want to go to an article
   3                                                3
     for patients."                                        titled Isolation and
   4                                                4
              You agree that ensuring the                  Identification of Process
   5                                                5
     drug is safe for patients needs to be the             Impurities in Crude Valsartan.
   6                                                6
     most important thing that ZHP should have             There we go.
   7                                                7
     done, correct?                                             Just for the record what
   8                                                8
          A. In response to your                           exhibit number is this?
   9                                                9
     question, the statement you just quoted                    MS. CALDERON: 433.
  10                                               10
     was regarding to -- our response to their                  (Document marked for
  11                                               11
     483 letter. The FDA's opinion was that                identification as Exhibit
  12                                               12
     our original response was not sufficient.             ZHP-433.)
  13                                               13
     We should continue to evaluate and take          BY MR. SLATER:
  14                                               14
     corrective actions to ensure the safety               Q. 433. Thank you.
  15                                               15
     of the drugs. That is my personal                          Looking now at Exhibit 433,
  16                                               16
     opinion.                                         this is an article that was published in
  17                                               17
              Once again, with regard to              the Journal of Liquid Chromatography &
  18                                               18
     all the questions raised in this letter,         Related Technologies in 2006.
  19                                               19
     ZHP had already provided an official or                    And if we could, let's go to
  20                                               20
     formal response.                                 the second page so we can see who the
  21                                               21
          Q. The last sentence of this                authors are.
  22                                               22
     paragraph states, "If new or higher                        Do you see there's three
  23                                               23
     levels of impurities are detected, you           authors, and the third one is Danhua Wang
  24                                               24
     should fully evaluate the impurities and         from ZHP?
                                        Page 243                                        Page 245
   1                                               1
     take action to ensure the drug is safe                A. I see it.
   2                                               2
     for patients."                                        Q. So this is an article
   3                                                3
               I want to focus on the last            published in 2006 in a medical journal
   4                                                4
     part, "ensuring the drug is safe for             and one of the authors was a ZHP
   5                                                5
     patients."                                       employee. You see that, correct?
   6                                                6
               Do you agree that is the                    A. I see it. However, could
   7                                                7
     most important rule that you need to             you please give me a few seconds to
   8                                                8
     follow, and that ZHP needed to follow, in        review this document, because I've never
   9                                                9
     manufacturing drugs for sale to patients?        seen this document before, nor do I have
  10                                               10
               MR. GOLDBERG: Objection to             the relevant technical knowledge.
  11                                               11
          form. Misstates testimony.                           MR. SLATER: Let's keep time
  12                                               12
               THE WITNESS: To any drug                    on this.
  13                                               13
          manufacturer, ensuring the                           THE WITNESS: I'm ready.
  14                                               14
          product -- let me put it this way.          BY MR. SLATER:
  15                                               15
          Let me start all over again.                     Q. Looking at the introduction
  16                                               16
               To any drug manufacturer               to this 2006 article authored in part by
  17                                               17
          utilizing their utmost knowledge            a ZHP employee, it starts out stating,
  18                                               18
          and effort to ensure the safety to          "The quality and safety of
  19                                               19
          the patient for any of their                pharmaceuticals can be significantly
  20                                               20
          product is correct.                         effected by the presence of impurities."
  21                                               21
               This statement is correct.                      Do you see what I just read?
  22                                               22
               MR. SLATER: Cheryll, I want                 A. That's correct. That's what
  23                                               23
          to go to another document. Don't            it says here.
  24                                               24
          lose this. We'll come right back                 Q. In the case of ZHP's

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                                         Page 246                                        Page 248
   1                                                1
      valsartan, the quality and safety of the         development study was adequate. We
   2                                                2
      valsartan was significantly affected by          disagree. We remind you that common
    3                                                3
      the presence of nitrosamine impurities,          industry practice may not always be
    4                                                4
      correct?                                         consistent with cGMP requirements and
    5                                                5
               MR. GOLDBERG: Objection to              that you are responsible for the quality
    6                                                6
           form. Vague.                                of drugs you produce."
    7                                                7
               THE WITNESS: Could you                           When they refer to the cGMP
    8                                                8
           please repeat your question?                requirements, as we already talked about
    9                                                9
      BY MR. SLATER:                                   on the first page of this letter, the FDA
   10                                               10
           Q. The quality and safety of                indicated that this warning letter
   11                                               11
      the valsartan manufactured by ZHP was            summarizes significant deviations from
   12                                               12
      significantly effected by the presence of        current good manufacturing practice, cGMP
   13                                               13
      nitrosamine impurities, NDMA and NDEA,           for active pharmaceutical ingredients
   14                                               14
      correct?                                         (API), correct?
   15                                               15
               MR. GOLDBERG: Objection to                   A. The first paragraph you just
   16                                               16
           form. Vague.                                quoted as the FDA's response that all the
   17                                               17
               THE WITNESS: I do not agree             way to the end, it says the common
   18                                               18
           with your opinion. If we are                industry practice may not always be
   19                                               19
           talking about a product of                  consistent with cGMP requirement. I saw
   20                                               20
           quality, if the manufacturer                that in the warning letter.
   21                                               21
           manufactures the product, if the                     For the second paragraph you
   22                                               22
           process approved by the FDA, and            just quoted, I could not find where it
   23                                               23
           the manufacturing was in                    was in the warning letter. Could you
   24                                               24
           compliance with the requirements            point out where that paragraph came from?
                                         Page 247                                        Page 249
   1                                                1
           of the GMP, then that product               Q. I just read the third
   2                                            2
           would be considered a product of       paragraph under Heading Number 2 which
    3                                           3
           quality.                               states, "Your response states that
    4                                           4
               As for the safety of a             predicting NDMA formation during the
    5                                           5
           product, it's up to the science to     valsartan manufacturing process required
    6                                           6
           identify and determine the safety.     an extra dimension over current industry
    7                                           7
               One, ZHP manufactured this         practice and that your process
    8                                           8
           product. FDA did not require us        development study was adequate. We
    9                                           9
           to test NDMA, nor did it set any       disagree. We remind you that common
   10                                          10
           standard for NDMA.                     industry practice may not always be
   11                                          11
               MR. SLATER: Let's go back          consistent" -- actually, you know what, I
   12                                          12
           to the warning letter please.          withdraw that. I just realized what you
   13                                          13
               Not that warning letter.           asked.
   14                                          14
               Perfect.                                    The second paragraph I
   15                                          15
      BY MR. SLATER:                              referred to is on the first page of the
   16                                          16
           Q. Looking now -- rephrase.            letter. Let's go back to the first page
   17                                          17
               Going back now to the              of the letter.
   18                                          18
      November 29, 2018 FDA warning letter.                It's the second paragraph
   19                                          19
      Under Section 2, the third paragraph        under where it says, "Dear Mr. Du."
   20                                          20
      states, "Your response states that                   It says, "This warning
   21
      predicting NDMA formation during the 21 letter summarizes significant deviations
   22
      valsartan manufacturing process required 22 from current good manufacturing practice
   23
      an extra dimension over current industry 23 (cGMP) for active pharmaceutical
   24                                          24
      practice and that your process              ingredients (API)."


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                                         Page 250                                         Page 252
   1                                                1
           A. That is correct. The                             MR. SLATER: Sure.
   2                                                2
      paragraph you just quoted was indeed in                  MR. GOLDBERG: Thank you.
    3                                                3
      this warning letter.                                     MR. SLATER: Let's go off
    4                                                4
           Q. Let's go back to where we                    the record.
    5                                                5
      were now on the fourth page of the                       THE VIDEOGRAPHER: The time
    6                                                6
      letter.                                              right now is 10:08 a.m.
    7                                                7
               Where the FDA says, "You are                    We're off the record.
    8                                                8
      responsible for the quality of drugs you                 (Short break.)
    9                                                9
      produce," you agree, ZHP is responsible                  THE VIDEOGRAPHER: The time
   10                                               10
      for the quality of drugs that ZHP                    right now is 10:12 a.m. We're
   11                                               11
      produces, right?                                     back on the record.
   12                                               12
           A. Is this your question or                 BY MR. SLATER:
   13                                               13
      you're merely quoting the warning letter?            Q. With regard to the
   14                                               14
           Q. I'm asking, do you agree                 November 29, 2018 letter written by the
   15                                               15
      that ZHP is responsible for the quality          FDA, the FDA was not aware, to your
   16                                               16
      of drugs that ZHP produces?                      knowledge, that as of at least July 2017,
   17                                               17
           A. That is correct. By the                  multiple people at ZHP were aware that
   18                                               18
      time that this last inspection by the FDA        there was NDMA in the valsartan, correct?
   19                                               19
      took place in 2018, for our manufacturing                MR. GOLDBERG: Objection to
   20                                               20
      we passed all the FDA inspections prior              form. Mischaracterizes the
   21                                               21
      to that and it was in compliance with the            document. Assumes facts not in
   22                                               22
      GMP.                                                 evidence.
   23                                               23
               MR. SLATER: Go to Page 6                        THE WITNESS: I do not agree
   24                                               24
           now of the letter please.                       with your opinion.
                                         Page 251                                         Page 253
   1                                                1
      BY MR. SLATER:                                            Yesterday I've already
   2                                                2
          Q. The first full paragraph on                    responded to your questions
    3                                                3
      Page 6 is a one sentence paragraph that               regarding this topic many times.
    4                                                4
      says, "FDA placed your firm on Import            BY MR. SLATER:
    5                                                5
      Alert 66-40 on September 28, 2018."                   Q. When you say you don't
    6                                                6
              That import alert precluded              agree, are you saying that you believe
    7                                                7
      ZHP from selling its valsartan API               the FDA was aware as of November 29,
    8                                                8
      manufactured with the zinc chloride              2018, that people within ZHP knew, at
    9                                                9
      process into the United States of                least as of July 2017, that there was
   10                                               10
      America, correct?                                NDMA in the valsartan?
   11                                               11
          A. This import ban stopped the                        MR. GOLDBERG: Objection to
   12                                               12
      manufacturing of API products at our                  form. Assumes facts.
   13                                               13
      Chuannan facility. Not limited to                     Mischaracterizes the document.
   14                                               14
      valsartan. That's a decision made by the                  THE WITNESS: Why I do not
   15                                               15
      FDA.                                                  agree with your opinion, I
   16                                               16
              MR. SLATER: Okay. We can                      believe, is that you speculated
   17                                               17
          take that document down now.                      that ZHP had already known this by
   18                                               18
              Let's go to Exhibit 212.                      2017.
   19                                               19
              (Previously marked Exhibit                        I have already responded to
   20                                               20
          ZHP-212.)                                         this lines of questions that the
   21                                               21
              MR. GOLDBERG: Adam, if                        relevant personnel at ZHP
   22                                               22
          you're in between documents, can                  responded to FDA's 483 letter or
   23                                               23
          we just take a two-minute break,                  their questions during the
   24                                               24
          not a long break?                                 inspection truthfully, which is

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                                         Page 254                                        Page 256
   1                                                1
           ZHP had no knowledge of the               Asked and answered yesterday.
   2
           existence of NDMA in the valsartan 2          THE WITNESS: You just put
    3                                          3
           process prior to June 2018.               your speculation into your
    4                                          4
      BY MR. SLATER:                                 question. And I've already
    5                                          5
           Q. As of November 29, 2018, had           responded to that question many
    6                                          6
      ZHP notified the FDA that there were           times yesterday and today.
    7                                          7
      people within ZHP who were aware that              With regard to the
    8
      there was NDMA in valsartan at least as 8      speculation embedded in your
    9                                          9
      of July 2017, had that information been        question, I will tell you that
   10                                         10
      provided to the FDA?                           ZHP's relevant personnel were not
   11                                         11
               MR. GOLDBERG: Objection to            aware of the NDMA existence in
   12                                         12
           form -- objection to form.                2017. They did not become aware
   13                                         13
           Assumes facts, mischaracterizes           of NDMA until June 2018.
   14                                         14
           the document, and asked and                   As I said before, for your
   15                                         15
           answered yesterday.                       hypothetical question that was not
   16                                         16
               THE WITNESS: This is a                complete, I would not respond to
   17                                         17
           hypothetical question you raised.         this question.
   18                                         18
           My response to that will remain       BY MR. SLATER:
   19                                         19
           the same as in my prior response.         Q. As of today, May 28, 2021,
   20                                         20
      BY MR. SLATER:                             has ZHP ever notified the FDA about the
   21                                         21
           Q. The answer is no, ZHP had          July 2017 e-mail from Jinsheng Lin or
   22                                         22
      not communicated that information to the provided that e-mail to the FDA? Yes or
   23
      FDA as of November 29, 2018, correct? 23 no?
   24
               MR. GOLDBERG: Objection to 24         A. No.
                                         Page 255                                        Page 257
   1                                                1
          form. Mischaracterizes the                        Q. As of today, May 28, 2021,
   2                                                2
          document. Assumes facts not in               has ZHP notified Prinston or Solco or
    3                                                3
          evidence. Asked and answered.                Huahai U.S., about the existence of the
    4                                                4
               THE WITNESS: My response to             July 2017 Jinsheng Lin e-mail or provided
    5                                                5
          this question would be that when             that e-mail to those companies?
    6                                                6
          ZHP provided the response in 2019                 A. What are you referring to
    7                                                7
          or in 2018, they did that based on           about --
    8                                                8
          our knowledge and the facts.                          THE INTERPRETER: The
    9                                                9
               Your speculation did not                     interpreter will start all over
   10                                               10
          stand. Therefore, I don't think                   again.
   11                                               11
          it is necessary for me to respond                     THE WITNESS: What are you
   12                                               12
          to this question.                                 referring to by every company?
   13                                               13
      BY MR. SLATER:                                   BY MR. SLATER:
   14                                               14
          Q. As of today, May 28, 2021,                     Q. As of today, May 28, 2021,
   15                                               15
      has ZHP, Huahai U.S., Prinston or                has ZHP provided the July 27, 2017,
   16                                               16
      Solco -- well, let me rephrase.                  Jinsheng Lin e-mail to Prinston, Solco,
   17                                               17
               As of today, May 28, 2021,              or Huahai U.S., or advised any of those
   18                                               18
      has ZHP notified the FDA that as of              three companies about the contents of
   19                                               19
      July 2017 there were people within ZHP           that e-mail? Yes or no?
   20                                               20
      who knew there was NDMA in valsartan, yes             A. No.
   21                                               21
      or no?                                                Q. As of today, May 28, 2021,
   22                                               22
               MR. GOLDBERG: Objection.                do you intend to provide the July 27,
   23                                               23
          Assumes facts not in evidence.               2017, Jinsheng Lin e-mail to the FDA?
   24                                               24
          Mischaracterizes the document.                        MR. GOLDBERG: Objection to


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   1                                                1
          form -- objection to form. Calls         reflect this is an issue.
   2                                             2
          for privileged information.                       In Prinston, Solco and
    3                                            3
               You can answer to the extent        Huahai U.S., the QA department and the
    4                                            4
          that you're not going to disclose        regulatory affairs department conduct
    5                                            5
          information that you discussed           their daily business based on the
    6                                            6
          with your counsel.                       information they receive from the
    7                                            7
               THE WITNESS: With regard to         official channel.
    8                                            8
          this question, it is up to ZHP's              Q. Have you asked anybody to
    9                                            9
          QA department, QC department, and provide you the background and technical
   10                                           10
          other related departments to             specifics of the July 27, 2017 e-mail
   11                                           11
          decide if it is necessary to             from Dr. Jinsheng Lin? Yes or no?
   12                                           12
          report that information to the                    MR. GOLDBERG: Objection to
   13                                           13
          FDA.                                          form. Asked and answered
   14                                           14
               It is not up to the CEO to               yesterday.
   15                                           15
          decide whether it is necessary or                 THE WITNESS: I have already
   16                                           16
          not.                                          responded to this question
   17                                           17
               In addition, Prinston did                yesterday.
   18                                           18
          not receive such information from                 As a CEO, it would not be
   19                                           19
          the finished dose facilities at               necessary for me to collect
   20                                           20
          ZHP.                                          information about the technical
   21                                           21
      BY MR. SLATER:                                    specification -- specifics.
   22                                           22
          Q. You are the CEO of Prinston,                   For the technical specifics
   23                                           23
      Solco, and Huahai U.S. Therefore, all             it would be the QA department, QC
   24
      three of those companies are aware of the 24      department, technology department,
                                         Page 259                                         Page 261
   1                                                1
      existence of the e-mail and its contents,             CEMAT, as well as other related
   2                                                2
      correct?                                              departments to conduct an
    3                                                3
           A. Could you repeat your                         investigation and make a decision
    4                                                4
      question?                                             accordingly.
    5                                                5
           Q. You are the CEO of Prinston,                      This is beyond the scope of
    6                                                6
      Solco, and Huahai U.S., therefore, since              my job description or job
    7                                                7
      you know about and have read the e-mail,              responsibility.
    8                                                8
      all three companies are fully aware of           BY MR. SLATER:
    9                                                9
      the content of that e-mail, correct?                  Q. So the answer to my question
   10                                               10
           A. I do not agree with your                 is no, you haven't asked to be provided
   11                                               11
      statement. That is because even though I         that information?
   12                                               12
      became aware of this e-mail last week, I              A. The answer to this question
   13                                               13
      do not know the background and the               would be no. That is because I do not
   14                                               14
      technical specifics of this e-mail, nor          have the technical knowledge to
   15                                               15
      did the QA department, QC department,            understand. It was also beyond the scope
   16                                               16
      technology department or the                     of my job responsibilities.
   17                                               17
      manufacturing department, or any other                Q. As the vice chairman of the
   18                                               18
      relevant department at ZHP, provide any          Board of Directors for ZHP and executive
   19                                               19
      explanation to point out whether this was        vice president of ZHP, do you want ZHP to
   20                                               20
      a quality issue or any other type of             disclose the July 27, 2017, Dr. Jinsheng
   21                                               21
      issue.                                           Lin e-mail to the FDA? Yes or no?
   22                                               22
               I did not receive any                            MR. GOLDBERG: Objection to
   23                                               23
      official or formal quality assurance                  form.
   24                                               24
      feedback through the official channel to                  THE WITNESS: First of all,


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                                        Page 262                                     Page 264
   1                                               1
           as a vice chair of the Board of         to do? Is your view that the e-mail
   2                                             2
           Directors at ZHP, we are at the         should be provided to the FDA? Yes or
    3                                            3
           very high level. We did not             no?
    4                                            4
           participate or get involved in the               MR. GOLDBERG: Objection to
    5                                            5
           routine activities. It was up to             form.
    6                                            6
           the corresponding departments,                   THE WITNESS: I already
    7                                            7
           such as the technology department,           responded to your question just
    8                                            8
           quality department, or people at             now.
    9                                            9
           the professional level to make                   First of all, we do not
   10                                           10
           such decisions.                              interfere with the daily
   11                                           11
               Since you mentioned my title             operations.
   12                                           12
           of executive vice president, that                Secondly, the QA department,
   13                                           13
           was just an interim assignment. I            QC department, CEMAT, and other
   14                                           14
           was not supposed to manage daily             related departments should make a
   15
           operations and that was beyond my 15         decision on such technical issues.
   16                                           16
           job responsibilities.                   BY MR. SLATER:
   17                                           17
      BY MR. SLATER:                                    Q. Do you intend to release the
   18                                           18
           Q. Is the answer yes, I want            July 27, 2017 e-mail publicly so that the
   19                                           19
      that information to be provided to the       financial markets will be aware of the
   20                                           20
      FDA, or is the answer no, I don't want to    existence of that document? Yes or no?
   21
      provide that e-mail to the FDA? Which 21              MR. GOLDBERG: Objection to
   22                                           22
      one is it?                                        form. Relevance.
   23
               MR. GOLDBERG: Objection to 23                THE WITNESS: I already
   24                                           24
           form.                                        responded to your question just
                                        Page 263                                     Page 265
   1                                               1
              THE WITNESS: My answer to                now.
   2                                            2
          your question is that it's up to                  My response will remain the
    3                                           3
          the ZHP's QA department, QC                  same.
    4                                           4
          department, and other related           BY MR. SLATER:
    5                                           5
          departments to make a decision if            Q. Is the answer yes, we
    6                                           6
          a report should be provided to the      believe that we should provide that --
    7                                           7
          FDA or not.                             rephrase.
    8                                           8
      BY MR. SLATER:                                        Is the answer yes, that as
    9                                           9
          Q. The right thing to do is to          vice chairman of the Board of Directors,
   10
      provide that July 27, 2017 e-mail to the 10 I think that the responsible thing to do
   11                                          11
      FDA immediately, correct?                   is to release this information to the
   12
              MR. GOLDBERG: Objection to 12 financial markets, as you are vice
   13                                          13
          form. Calls for a legal                 chairman of the Board of Directors of a
   14                                          14
          conclusion.                             publicly traded company, or is the answer
   15                                          15
              THE WITNESS: I do not agree         no, we don't need to release that
   16                                          16
          with your statement. That is            information?
   17                                          17
          because whether it is the right                   MR. GOLDBERG: Objection to
   18                                          18
          thing to do or not, I do not have            form. That question calls for
   19
          the professional knowledge to make 19        speculation. It's ambiguous and
   20                                          20
          such a judgment.                             vague.
   21                                          21
      BY MR. SLATER:                                        And you can answer the
   22                                          22
          Q. You are the vice chairman of              question.
   23
      the Board of Directors of ZHP. What is 23             Let me just note for the
   24                                          24
      your view as to what the right thing is          record that portion of the


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                                        Page 266                                     Page 268
    1                                              1
          transcript moving to a protective     to this e-mail of 2017, ultimately it's
    2                                         2
          order of any answers about that.      the QA department, QC department, and
    3                                         3
              If another question is posed      other related departments to decide how
    4                                         4
          like that, we'll instruct the         to handle this e-mail.
    5                                         5
          witness not to answer. This is                 It does not depend on my
    6                                         6
          going so far outside the scope of     personal judgment or speculations,
    7                                         7
          what the deposition in this case      because I do not have the relevant
    8                                         8
          should be about, and I'm allowing     knowledge to do so.
    9                                         9
          the witness to answer the                  Q. Do you as the vice chairman
   10                                        10
          questions so we get through the       of the  Board of Directors of ZHP, as well
   11                                        11
          deposition.                           as, as the CEO of Prinston, Solco, and
   12                                        12
              However, you've now spent         Huahai U.S., believe that this e-mail
   13                                        13
          the better part of two and a half     should be made public so that the
   14                                        14
          hours on one document. It's your      patients who took the valsartan with the
   15                                        15
          entire case, I get that.              NDMA and NDEA impurity will know about
   16                                        16
              But it is certainly               the existence and contents of the e-mail?
   17                                        17
          something that I think Judge          Yes or no?
   18                                        18
          Vanaskie would say enough is               A. As a matter of fact I have
   19                                        19
          enough.                               already responded to this question many,
   20                                        20
              MR. SLATER: I have a new          many, many times, as I just did now.
   21                                        21
          question.                             Therefore, I would remain the same in my
   22                                        22
              THE WITNESS: I need to            response and I would not repeat that
   23                                        23
          repeat my answer to your question.    answer.
   24                                        24
              As a vice chairman of the                  MR. SLATER: Let's go --
                                        Page 267                                     Page 269
    1                                              1
           Board of Directors, I do not                Cheryll, let's take -- oh. We're
    2                                           2
           intervene in the specific                   actually in this document. Can
    3                                           3
           operations.                                 you go back to the fourth page of
    4                                           4
               As to whether there would be            this document, please,
    5                                           5
           an influence in ZHP's specific              Exhibit 213?
    6                                           6
           actions or whether to take such an              Perfect.
    7                                           7
           action or not, which is to provide     BY MR. SLATER:
    8                                           8
           a report in the financial market,           Q. Looking at Exhibit 213, the
    9                                           9
           it depends on the quality              November 29, 2018, FDA warning letter. I
   10                                          10
           department, the technology             want to look again at the third paragraph
   11                                          11
           department, as well as other           under Heading Number 2.
   12                                          12
           related departments, as ZHP                     The sentence that states,
   13                                          13
           decide, whether or not to take         "Your response states that predicting
   14                                          14
           such an action and whether it is       NDMA formation during the valsartan
   15                                          15
           worthwhile to take such an action.     manufacturing process required an extra
   16                                          16
      BY MR. SLATER:                              dimension over current industry practice
   17                                          17
           Q. Do you believe that the             and that your process development study
   18                                          18
      July 27, 2017 e-mail should be made         was adequate."
   19                                          19
      public so that the patients who took the             With regard to that
   20                                          20
      valsartan with the NDMA impurity will be    statement by the FDA characterizing your
   21                                          21
      aware of the existence of the document?     response, isn't it true that, in fact,
   22                                          22
      Yes or no?                                  the reason that these reactions were not
   23                                          23
           A. I do not agree with your            understood from the outset by ZHP was due
   24                                          24
      statement. That is because with regard      to insufficient process research and


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                                        Page 270                                     Page 272
   1                                               1
      insufficient study in understanding of            A. First of all, I don't think
   2                                             2
      genotoxic impurities, isn't that the         this document is an official document.
    3                                            3
      reason?                                      Just it is in the format of a draft.
    4                                            4
           A. I do not agree with your                  Q. The information I just read
    5                                            5
      statement. In response to the paragraph was not what ZHP told the FDA, correct?
    6                                            6
      you just quoted in the FDA's warning              A. I don't know, because I do
    7                                            7
      letter, ZHP has already provided an          not get involved in the specifics of a
    8                                            8
      official response in writing. I would        deviation investigation.
    9                                            9
      rather not provide my personal                    Q. The information that I just
   10                                           10
      speculation here.                            read  is not what your letter to the FDA
   11                                           11
               MR. SLATER: Cheryll, let's          dated August 26, 2018 told the FDA,
   12                                           12
           go to Exhibit 212, please.              right?
   13                                           13
      BY MR. SLATER:                                    A. I am not sure because I have
   14                                           14
           Q. Exhibit 212 is a draft of            not compared the two documents to find
   15
      the deviation investigation report titled 15 out the difference.
   16
      Investigation Regarding an Unknown 16                  MR. SLATER: Cheryll, let's
   17                                           17
      Impurity (Genotoxic Impurity).                    go back to Exhibit 430. Page 2.
   18                                           18
               Do you see that on the                   Third paragraph. The fifth line
   19                                           19
      screen?                                           down.
   20                                           20
           A. That is correct.                     BY MR. SLATER:
   21                                           21
               I would request a few                    Q. You said, "It is this extra
   22                                           22
      seconds to review this document.             dimension over the current industry
   23
               MR. SLATER: Keep time on 23 practice that obscured us from foreseeing
   24                                           24
           this, please.                           this impurity during the process change
                                        Page 271                                     Page 273
   1                                               1
               THE WITNESS: I am ready. I          from triethylamine process to zinc
   2                                             2
           have finished the review.               chloride process."
    3                                            3
      BY MR. SLATER:                                        That's what you told the
    4                                            4
           Q. Let's go to Section 5.2, the         FDA, which is very different from what
    5                                            5
      Bates number, the last three digits is       this Document 212 that we just read
    6                                            6
      308.                                         states, correct?
    7                                            7
               Looking now at Section 5.2               A. I do not agree with your
    8                                            8
      titled Control Strategy. The document        statement because it says here it
    9                                            9
      states in part, "Due to insufficient         requires a more complex -- well, an extra
   10                                           10
      extent and depth of process research at      dimension that is more complex research
   11                                           11
      the early stage, as well as insufficient     and development.
   12                                           12
      study and understanding of potential                  In the previous document we
   13                                           13
      genotoxic impurities, only side reaction     just looked at, it says the R&D, or
   14                                           14
      product and degradation products were        research and development, was
   15                                           15
      studied, and was unaware of the further      insufficient, but after all, the reason
   16                                           16
      reaction between degradation products and    was the lack of knowledge. Therefore, I
   17                                           17
      raw material."                               believe there is just different ways of
   18                                           18
               That's what this document           description between the two documents.
   19                                           19
      states, correct?                                      And in this letter it was
   20                                           20
           A. Hold on. I'm scrolling to            more clear in the description of the
   21                                           21
      this page.                                   cause or the reason. In the previous
   22                                           22
               I see this document.                document that we just looked at, the
   23                                           23
           Q. That's what the language             description there was more in general.
   24                                           24
      states, correct?                                      I have to emphasize again

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   1                                                1
      that I do not have the ability to conduct        some people at ZHP and Charles Wang. Do
   2                                                2
      an investigation like the QA department          you see that?
    3                                                3
      does. I only provide my personal opinion              A. Can you give me a few
    4                                                4
      based on the statements in those                 seconds for me to open this document from
    5                                                5
      documents.                                       the link.
    6                                                6
               MR. SLATER: Let's go back,                       MR. SLATER: Time this,
    7                                                7
           if we could, to Exhibit 212, where               please.
    8                                                8
           we were.                                             THE WITNESS: What document
    9                                                9
      BY MR. SLATER:                                        number is this? I do not see it
   10                                               10
           Q. Going back to the language                    in the link.
   11                                               11
      in Exhibit 212, the draft of the                          MR. SLATER: 434 is the
   12                                               12
      deviation investigation report, this very             exhibit number.
   13                                               13
      clearly states that the problem was                       THE WITNESS: Could you give
   14                                               14
      "insufficient extent and depth of process             me a few seconds to review it?
   15                                               15
      research at the early stage, as well as                   I'm ready.
   16                                               16
      insufficient study and understanding of          BY MR. SLATER:
   17                                               17
      potential genotoxic impurities."                      Q. Charles Wang is a
   18                                               18
               That's the language in the              toxicologist who was consulted by Min Li,
   19                                               19
      document, correct?                               correct?
   20                                               20
           A. Well, what you just quoted                    A. That is correct.
   21                                               21
      was indeed what this document says.                   Q. Charles Wang was employed by
   22                                               22
      However, this paragraph continues to say         another company, Glaxo, at the time that
   23                                               23
      that with the development and progress of        he was consulted by Min Li, correct?
   24                                               24
      science, as well as the in-depth                      A. I'm not sure.
                                         Page 275                                         Page 277
   1                                                1
      understanding of research, the potential             Q. Did you ever speak to
   2                                                2
      genotoxic impurities, this issue is              Charles Wang?
    3                                                3
      gradually understood.                                A. Yes.
    4                                                4
               MR. SLATER: Let's go off                    Q. Did you know Charles Wang
    5                                                5
           the record.                                 outside of being introduced to him
    6                                                6
               THE VIDEOGRAPHER: The time              through Min Li?
    7                                                7
           right now is 11:02 a.m. We are                  A. Could you please repeat your
    8                                                8
           off the record.                             question?
    9                                                9
               (Short break.)                              Q. Did you know Charles Wang
   10                                               10
               THE VIDEOGRAPHER: The time              independently from being introduced to
   11                                               11
           right now is 11:17 a.m. We're               him by Min Li?
   12                                               12
           back on the record.                                 Let me ask it differently.
   13                                               13
               MR. SLATER: Cheryll, let's              Did you meet Charles Wang through Min Li?
   14                                               14
           go to the document ZHP00675949.                 A. No.
   15                                               15
               What exhibit number is this                 Q. How did you meet Charles
   16                                               16
           now?                                        Wang?
   17                                               17
               (Document marked for                        A. I met him in a conference.
   18                                               18
           identification as Exhibit                       Q. ZHP consulted Charles Wang
   19                                               19
           ZHP-434.)                                   because you respected Charles Wang as a
   20                                               20
               MS. CALDERON: 434.                      Ph.D. toxicologist, correct?
   21                                               21
               MR. SLATER: Thank you.                          MR. GOLDBERG: Objection to
   22                                               22
      BY MR. SLATER:                                       form.
   23                                               23
           Q. Looking now at Exhibit 434,                      THE WITNESS: What field of
   24                                               24
      this is an e-mail chain between and among            work are you referring to when you


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   1                                                1
           said ZHP consulted him?                          rate between rmb and U.S. dollar
   2                                                2
      BY MR. SLATER:                                        fluctuates with time.
    3                                                3
           Q. ZHP consulted Charles Wang               BY MR. SLATER:
    4                                                4
      with regard to various toxicology                     Q. Can you give me some
    5                                                5
      questions in 2017 and 2018, correct?             approximate idea to the best of your
    6                                                6
           A. I'm not sure about that.                 ability right now please. Just to give
    7                                                7
               All I know is that ZHP                  me a range of what 45,000 rmb would
    8                                                8
      consulted Charles Wang through Min Li on         correspond to in U.S. dollars. I'm not
    9                                                9
      related knowledge to NDMA in valsartan in        holding you to the exact number.
   10                                               10
      toxicology.                                           A. Based on the current
   11                                               11
           Q. Looking at Exhibit 319, at               exchange rate, 1 USD is equivalent to
   12                                               12
      the very top of the first page is a              6.4 rmb based on which you can do a
   13                                               13
      July 7th -- rephrase.                            simple calculation.
   14                                               14
               Looking at Exhibit 434 at                        MR. SLATER: Let's go to
   15                                               15
      the top of the first page is an e-mail                Exhibit 319, please.
   16                                               16
      dated November 2, 2018, confirming that                   (Previously marked Exhibit
   17                                               17
      Charles Wang was paid for the work he did             ZHP-319.)
   18                                               18
      for ZHP, correct?                                         THE WITNESS: Can you allow
   19                                               19
           A. That's what this e-mail                       me to find this document in the
   20                                               20
      says, but I have never seen this e-mail               link.
   21                                               21
      before.                                                   I have found it. Can you
   22                                               22
               I do not know whether he has                 give me a few seconds to review
   23                                               23
      been paid or not either.                              it?
   24                                               24
           Q. This e-mail documents that                        MR. SLATER: Fine. We keep
                                         Page 279                                         Page 281
   1                                                1
      Charles Wang was paid, as of November 2,              track of all the time. We can
   2                                                2
      2018, for nine reports of 45,000 rmb.                 take whatever time you need.
    3                                                3
      That's what the e-mail confirms, right?                   THE WITNESS: I'm ready.
    4                                                4
              MR. GOLDBERG: Objection.                 BY MR. SLATER:
    5                                                5
          Foundation.                                       Q. Looking at Exhibit 319,
    6                                                6
              THE WITNESS: That is                     there is an e-mail from Jim MacDonald,
    7                                                7
          correct. However, I do not know              Ph.D., to Charles Wang, following from
    8                                                8
          the specifics. That's what this              the back and forth between Dr. MacDonald
    9                                                9
          e-mail says.                                 and Dr. Wang where Dr. Wang had consulted
   10                                               10
      BY MR. SLATER:                                   Jim MacDonald.
   11                                               11
          Q. What does 45,000 rmb mean,                         Do you see that e-mail in
   12                                               12
      do you know?                                     the middle of the first page here?
   13                                               13
          A. It's a simple question, and                    A. I see this e-mail. It is
   14                                               14
      I would provide a simple answer.                 also the first time I see this e-mail.
   15                                               15
              45,000 rmb is the amount in                   Q. In this e-mail Dr. MacDonald
   16                                               16
      45,000 rmb.                                      tells Charles Wang, "I'm afraid I can't
   17                                               17
          Q. What does rmb stand for?                  be of much help on this case particularly
   18                                               18
          A. Rmb stands for the Chinese                on this time scale. NDMA (or
   19                                               19
      currency.                                        dimethylnitrosamine) is a pretty
   20                                               20
          Q. What is the equivalent of                 well-known toxin and animal carcinogen
   21                                               21
      45,000 rmb in United States dollars?             with lots of discussion on permissible
   22                                               22
              MR. GOLDBERG: Objection to               levels in drinking water and products.
   23                                               23
          form.                                        Even though the compound is found in
   24                                               24
              THE WITNESS: The exchange                cured meats and some groundwater, the


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   1                                                1
      body of evidence on this suggest pretty               such things with a person that
   2                                                2
      clearly that this is a likely human                   doesn't have professional
    3                                                3
      carcinogen at sufficient exposures. The               knowledge like me.
    4                                                4
      argument that the company would have to          BY MR. SLATER:
    5                                                5
      make to keep this product on the market               Q. Have you seen the deposition
    6                                                6
      will be very difficult with this profile.        testimony given from Min Li?
    7                                                7
      I'm not exactly sure where one would                  A. Would you please repeat your
    8                                                8
      begin given the very high levels you             question?
    9                                                9
      think they are seeing. I think the                    Q. Have you seen Min Li's
   10                                               10
      strategy I would probably recommend would        deposition transcript and read what he
   11                                               11
      be to come up with a CMC plan to remove          testified to about your interactions with
   12                                               12
      the contaminant (at least to minimally           Charles Wang?
   13                                               13
      detectable levels) while they recall the              A. No, I've not seen it.
   14                                               14
      existing product and reformulate. I                   Q. Were you on calls with
   15                                               15
      expect this is not what they would want          Charles Wang and Min Li together where
   16                                               16
      to hear, but unless there is a compelling        all three of you spoke?
   17                                               17
      reason to leave this product on the                   A. Are you suggesting that we
   18                                               18
      market, (e.g., only product available to         discussed as a group, the three of us?
   19                                               19
      treat a serious life-threatening                      Q. Did you, Charles Wang, and
   20                                               20
      disease), I would expect that the FDA            Min Li discuss the NDMA contamination of
   21                                               21
      would ask for a recall. I would be               valsartan together on conference calls or
   22                                               22
      interested to know what happens at the           in WeChat?
   23                                               23
      FDA meeting. These things are always                  A. First of all, I do not agree
   24                                               24
      very difficult to predict, but this is           with your statement that NDMA is a
                                         Page 283                                        Page 285
   1                                                1
      not a good position for this product in          contaminant.
   2                                                2
      my view. Hope all is well with you.                       Secondly, I believe there
    3                                                3
      Best regards, Jim."                              was some discussion among the three of us
    4                                                4
               Do you see what I just read?            in WeChat.
    5                                                5
           A. Yes.                                              MR. SLATER: Take that
    6                                                6
           Q. Then up above that, on                        document down. Let's go to
    7                                                7
      July 17, 2018, Charles Wang writes to Jim             Exhibit 210.
    8                                                8
      MacDonald and forwards him a link showing                 It's not coming up on my
    9                                                9
      that the valsartan had been recalled. Do              screen for some reason. There we
   10                                               10
      you see that?                                         go.
   11                                               11
           A. Yes.                                     BY MR. SLATER:
   12                                               12
           Q. You were speaking with                        Q. Looking now at Exhibit 210.
   13                                               13
      Charles Wang during this time period,            This is the deviation investigation
   14                                               14
      correct, June and July of 2018?                  report prepared November 5, 2018,
   15                                               15
           A. That is correct.                         according to the front of the document.
   16                                               16
           Q. And you were aware of the                         This was an official report
   17                                               17
      information Charles Wang had and what he         prepared by ZHP with regard to the
   18                                               18
      had learned from Dr. MacDonald as well,          nitrosamine contamination of the
   19                                               19
      correct?                                         valsartan, correct?
   20                                               20
               MR. GOLDBERG: Objection to                   A. It is about an investigation
   21                                               21
           form. Foundation.                           regarding unknown impurity of valsartan
   22                                               22
               THE WITNESS: I don't know.              API TEA process.
   23                                               23
           I do not have the professional                       MR. SLATER: Let's go to
   24                                               24
           knowledge and he would not discuss               Page 11 of 236, please.


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   1                                                1
                Actually, let's go to                      was referenced in the deviation
   2                                                2
           Page 10 first, Cheryll.                         investigation report.
    3                                                3
                THE WITNESS: Please allow                      This is Exhibit 321.
    4                                                4
           me some time to scroll to this                      (Previously marked Exhibit
    5                                                5
           page.                                           ZHP-321.)
    6                                                6
                MR. SLATER: Keep time on                       THE WITNESS: Hold on. I
    7                                                7
           this as well please.                            don't see that in the link.
    8                                                8
                THE WITNESS: I am ready.                       Okay. I see it.
    9                                                9
      BY MR. SLATER:                                           Could you allow me a few
   10                                               10
           Q. On Page 10, the heading at                   seconds to review this document?
   11                                               11
      the top of the page is 3.1.2, NDMA,                      I am ready, but I cannot
   12                                               12
      Physiochemical characteristics and                   understand this document.
   13                                               13
      toxicological evaluation of NDMA.                BY MR. SLATER:
   14                                               14
                And I'd like to now turn to                Q. Let's go to Page 23, please.
   15                                               15
      Page 11. And you can see in the second           Top of the page.
   16                                               16
      paragraph there's a citation to an                   A. Hold on. Let me scroll to
   17                                               17
      article titled Concise International             Page 21.
   18                                               18
      Chemical Assessment Document 38.                         MR. GOLDBERG: I think it's
   19                                               19
      N-nitrosodimethylamine, published by the             23, Jun.
   20                                               20
      World Health Organization in 2002.                       THE WITNESS: I'm ready.
   21                                               21
                Do you see that citation?                  I'm on this page.
   22                                               22
           A. Yes.                                     BY MR. SLATER:
   23                                               23
           Q. So this is an official                       Q. Looking at the top of
   24                                               24
      report that was prepared by ZHP citing to        Page 23 in this article that was cited in
                                         Page 287                                         Page 289
   1                                                1
      that article, correct?                   ZHP's own deviation investigation report,
   2                                         2
           A. Judging from what it says in     it states in the top right, "Therefore,
    3                                        3
      this document, that's correct.           owing to the considerable evidence of
    4                                        4
               MR. SLATER: Cheryll, is it      carcinogenicity of NDMA in laboratory
    5                                        5
           possible, this might take you a     species, evidence of direct interaction
    6                                        6
           moment, can you try to also pull    with DNA consistent with tumor formation,
    7                                        7
           up Exhibit 204, please.             and the apparent lack of qualitative
    8                                        8
               (Previously marked Exhibit      species-specific differences in the
    9                                        9
           ZHP-204.)                           metabolism of this substance, NDMA is
   10                                       10
               THE WITNESS: Hold on. Let highly likely to be carcinogenic to
   11
           me open this document too, from 11 humans."
   12                                       12
           the link.                                     And that language again is
   13                                       13
               MR. SLATER: That's not the      found in an article cited by ZHP in its
   14                                       14
           version that I have in front of     own deviation investigation report,
   15                                       15
           me, marked as 204.                  correct?
   16                                       16
               This is a problem. All                A. It does not sound the same
   17                                       17
           right.                              as the quote you just provided. I did
   18                                       18
               THE WITNESS: I don't see        not make the comparison myself.
   19                                       19
           that.                                     Q. Are you saying that I didn't
   20                                       20
               MR. SLATER: No, take --         read the language accurately?
   21                                       21
           take the document down.                   A. What you just quoted from
   22                                       22
               All right. Let's go now to      this document was right.
   23                                       23
           Exhibit 321, which is the World           Q. The World Health
   24                                       24
           Health Organization article that    Organization article from 2002 concluded


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                                       Page 290                                     Page 292
   1                                              1
      that NDMA is highly likely to be                you don't have to do it every
   2                                           2
      carcinogenic to humans, correct?                single time the document goes up.
    3                                          3
           A. Judging from what it says in            Your people are taking -- keeping
    4                                          4
      this document, the statement you just           that time.
    5                                          5
      made is correct.                                    THE WITNESS: Can you repeat
    6                                          6
               MR. SLATER: Cheryll, can               the exhibit number? I go to
    7                                          7
           you go back to Exhibit 204,                Exhibit 204, but the one that I
    8                                          8
           please. I'd like to get to the             see is different from what you
    9                                          9
           part where the deviation report,           have shown.
   10                                         10
           DCE-18001 begins.                     BY MR. SLATER:
   11
               THE WITNESS: Hold on. Give 11          Q. This is the exhibit. It's
   12                                         12
           me some time to review.               Page 12 of the exhibit.
   13                                         13
               MR. SLATER: You can do                 A. I would like you to tell me
   14                                         14
           whatever you want. I'm just           the exhibit number again? What's the
   15                                         15
           getting to the document where I       number, 200 and what?
   16                                         16
           want to use it.                                MR. SLATER: I can't do
   17
               THE WITNESS: So what's the 17          this. Cheryll, can you help him,
   18                                         18
           exhibit number again --                    please?
   19                                         19
               MR. SLATER: 204.                           MS. CALDERON: Mr. Du, it's
   20                                         20
               THE WITNESS: What I opened             page -- Exhibit 204, ZHP
   21                                         21
           from the link is different from            Exhibit 204.
   22                                         22
           what you're showing on the screen.             And then you can just -- you
   23                                         23
      BY MR. SLATER:                                  can actually just go to the little
   24                                         24
           Q. You need to scroll 12 pages             box at the top that says "of 120."
                                       Page 291                                     Page 293
   1                                              1
      in and you'll find this page.                       You can put in the number 12.
   2                                              2
                MR. SLATER: Please keep                       This is the front of the
    3                                              3
           track of all this time. I'm                    page. Then you just scroll down
    4                                              4
           literally going to bring him to                to the 12th page.
    5                                              5
           one page and identify that the WHO                 Do you see that? Right
    6                                              6
           article is identified again. So                there.
    7                                              7
           all this time is unnecessary.                      THE WITNESS: I see it. I
    8                                              8
                MR. GOLDBERG: Counsel, you                see it. We are on different
    9                                              9
           keep doing that and it is --                   pages.
   10                                             10
           you're the one directing the                       MS. CALDERON: Yes.
   11                                             11
           witness to the documents.                          THE WITNESS: Now I see it.
   12                                             12
                The -- he is scrolling               BY MR. SLATER:
   13                                             13
           through, and he has told you that              Q. Looking within Exhibit 204,
   14                                             14
           he can't find the page you're             is the deviation investigation report
   15                                             15
           referring to. Okay.                       dated July 20, 2018, it's entitled
   16                                             16
                You've got to give the               Investigation regarding a Suspected
   17                                             17
           witness a chance to look at the           Genotoxic Impurity of Valsartan,
   18                                             18
           document and get to the page.             DCE-18001.
   19                                             19
                MR. SLATER: Nobody is                         Do you see that?
   20                                             20
           stopping him from doing that. The              A. Yes.
   21                                             21
           page that I'm --                                   MR. SLATER: Cheryll, please
   22                                             22
                MR. GOLDBERG: This is your                turn to Page 24 of 33 within
   23                                             23
           time and we're -- and your                     this -- this document. It's
   24                                             24
           continual reference to the time,               ZHP0004388.

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                                         Page 294                                                 Page 296
   1                                                 1
      BY MR. SLATER:                                         time. Thank you.
   2                                                 2
           Q. Looking at the bottom                              MR. SLATER: Okay. Thanks
    3                                                3
      paragraph on this page, there is a                     everybody.
    4                                                4
      citation to the World Health Organization                  THE VIDEOGRAPHER: The time
    5                                                5
      article from 2002 that we just looked at.              right now is 12:06 p.m. We are
    6                                                6
      Do you see that?                                       off the record.
    7                                                7
           A. Please allow me to scroll to                       (Excused.)
    8                                                8
      this page before answering your question.                  (Deposition concluded at
    9                                                9
      I'm ready.                                             approximately 12:06 p.m.)
   10                                               10
           Q. Do you see that the World
   11                                               11
      Health Organization article from 2002 is
   12                                               12
      cited in the ZHP deviation investigation
   13                                               13
      report that we're looking at?
   14                                               14
           A. Yes.
   15                                               15
           Q. And that's in the section
   16                                               16
      titled 4.1.2, Probable Routes of Human
   17                                               17
      Exposure and Average Daily
   18                                               18
      Intake/Exposure From Environment.
   19                                               19
                Do you see that's the
   20                                               20
      heading at the top of the page?
   21                                               21
           A. Yes.
   22                                               22
           Q. And again, that World Health
   23                                               23
      Organization article that is cited in
   24                                               24
      your company's official report concluded
                                         Page 295                                                 Page 297
   1                                                 1
      that NDMA is highly -- highly likely to        2
   2                                                             CERTIFICATE
      be carcinogenic to humans. We just went        3
    3                                                4
      over that, correct?
    4                                                5         I HEREBY CERTIFY that the
           A. That is correct.
    5                                                  witness was duly sworn by me and that the
               MR. SLATER: Thank you. I              6 deposition is a true record of the
    6
           have no further questions at this           testimony given by the witness.
    7                                                7
           time, subject to my right to
    8                                                           It was requested before
           request continuation or additional        8 completion of the deposition that the
    9
           testimony based on motion practice            witness, JUN DU, have the opportunity to
   10                                                9 read and sign the deposition transcript.
           subsequent to the deposition.            10
   11
               Thank you.                           11
   12
               MR. GOLDBERG: We'll take a                    __________________________________
   13                                               12       MICHELLE L. GRAY,
           few minute break and then we'll
   14                                                        A Registered Professional
           come back in. Can we go off the          13       Reporter, Certified Shorthand
   15
           record for a few minutes?                         Reporter, Certified Realtime
   16                                               14       Reporter and Notary Public
               THE VIDEOGRAPHER: The time
   17
           right now is 11:52 a.m. We are                    Dated: June 2, 2021
                                                    15
   18
           off the record.                          16
   19                                               17           (The foregoing certification
               (Short break.)                       18 of this transcript does not apply to any
   20
               THE VIDEOGRAPHER: The time           19 reproduction of the same by any means,
   21
           right now is 12:05 p.m. We're            20 unless under the direct control and/or
   22                                               21 supervision of the certifying reporter.)
           back on the record.                      22
   23
               MR. GOLDBERG: We have no             23
   24
           questions for the witness at this        24




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                                         Page 298                                                 Page 300
    1                                                1
           INSTRUCTIONS TO WITNESS
    2                                                2       ACKNOWLEDGMENT OF DEPONENT
    3                                                3
               Please read your deposition           4
    4                                                            I,_____________________, do
      over carefully and make any necessary          5 hereby certify that I have read the
    5
      corrections. You should state the reason       6 foregoing pages, 217 - 301, and that the
    6
      in the appropriate space on the errata         7 same is a correct transcription of the
    7
      sheet for any corrections that are made.       8 answers given by me to the questions
    8
               After doing so, please sign           9 therein propounded, except for the
    9
      the errata sheet and date it.                 10 corrections or changes in form or
   10
               You are signing same subject         11 substance, if any, noted in the attached
   11
      to the changes you have noted on the          12 Errata Sheet.
   12                                               13
      errata sheet, which will be attached to
   13                                               14
      your deposition.
   14                                               15   _______________________________________
               It is imperative that you
   15                                               16   JUN DU               DATE
      return the original errata sheet to the       17
   16
      deposing attorney within thirty (30) days     18
   17
      of receipt of the deposition transcript       19 Subscribed and sworn
   18
      by you. If you fail to do so, the                  to before me this
   19
      deposition transcript may be deemed to be     20 _____ day of ______________, 20____.
   20
      accurate and may be used in court.            21 My commission expires:______________
   21
                                                    22
   22
                                                         ____________________________________
   23                                               23 Notary Public
   24                                               24

                                         Page 299                                                 Page 301
    1       - - - - - -                              1 LAWYER'S NOTES
             ERRATA                                  2 PAGE
                                                      LINE
    2       - - - - - -                       3 ____ ____ ____________________________
    3                                         4 ____ ____ ____________________________
    4 PAGE LINE CHANGE                        5 ____ ____ ____________________________
    5 ____ ____ ____________________________  6 ____ ____ ____________________________
    6   REASON: ____________________________ 7 ____ ____ ____________________________
    7 ____ ____ ____________________________
                                              8 ____ ____ ____________________________
    8   REASON: ____________________________ 9 ____ ____ ____________________________
    9 ____ ____ ____________________________
                                             10 ____ ____ ____________________________
   10   REASON: ____________________________ 11
   11 ____ ____ ____________________________
                                                ____ ____ ____________________________
                                             12 ____ ____ ____________________________
   12   REASON: ____________________________ 13
   13 ____ ____ ____________________________    ____ ____ ____________________________
                                             14 ____ ____ ____________________________
   14   REASON: ____________________________ 15
   15 ____ ____ ____________________________    ____ ____ ____________________________
                                             16 ____ ____ ____________________________
   16   REASON: ____________________________ 17
   17 ____ ____ ____________________________    ____ ____ ____________________________
                                             18 ____ ____ ____________________________
   18   REASON: ____________________________
   19 ____ ____ ____________________________ 19 ____ ____ ____________________________
   20                                        20 ____ ____ ____________________________
        REASON: ____________________________
   21 ____ ____ ____________________________ 21 ____ ____ ____________________________
   22   REASON: ____________________________ 22 ____ ____ ____________________________
   23 ____ ____ ____________________________ 23 ____ ____ ____________________________
   24   REASON: ____________________________ 24 ____ ____ ____________________________


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